                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                          *
MARY BOYLE, et al.,                       *
                                          *
                    Plaintiffs,           *
                                          *     Civ. No. MJM-25-1628
        v.                                *
                                          *
DONALD J. TRUMP, in his official          *
capacity as President of the United       *
States, et al.,                           *
                                          *
                    Defendants.           *
                                          *
                                * * * * * * * * * *

                                 MEMORANDUM OPINION

       Plaintiffs Mary Boyle, Alexander Hoehn-Saric, and Richard Trumka Jr. (collectively,

“Plaintiffs”) were appointed to serve as members of the United States Consumer Product Safety

Commission (“CPSC”) for terms prescribed by statute, subject to removal only for neglect of duty

or malfeasance. On May 8 and 9, 2025, Plaintiffs received notifications sent on behalf of President

Donald J. Trump purporting to terminate them from their positions without cause. Thereafter,

Plaintiffs were denied access to facilities and resources necessary to fulfill their roles as CPSC

Commissioners, and members of Plaintiffs’ staff were discharged.

       On May 21, 2025, Plaintiffs commenced this civil action for declaratory and injunctive

relief against President Trump; Scott Bessent, Secretary of the Treasury; Russell Vought, Director

of the Office of Management and Budget; and Peter A. Feldman, Acting Chairman of the CPSC

(collectively, “Defendants”). Plaintiffs seek a declaratory judgment that their terminations were

unlawful and an injunction against official action to effectuate their removal from office.

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Defendants contend that the statute requiring cause for Plaintiffs’ removal is inconsistent with the

President’s removal power under Article II of the U.S. Constitution and therefore invalid.

       This matter is before the Court on the parties’ cross-motions for summary judgment. On

June 6, 2025, following expedited briefing, the Court conducted a hearing on the motions and took

them under advisement. For the reasons set forth below, the Court finds no constitutional defect in

the statutory restriction on Plaintiffs’ removal and that Plaintiffs’ purported removal from office

was unlawful. The Court shall enter an Order granting Plaintiffs’ motion, denying Defendants’

motion, and providing declaratory and injunctive relief permitting Plaintiffs to resume their duties

as CPSC Commissioners.

I.     BACKGROUND

       A. Purpose, Functions, and Organization of the Consumer Product Safety
          Commission

       In 1972, Congress passed the Consumer Product Safety Act (“CPSA”), Pub. L. No. 92-

573, 86 Stat. 1207, and created the CPSC to advance the goals and purposes of the Act, 15 U.S.C.

§ 2053(a). The CPSA’s purposes include (1) “protect[ing] the public against unreasonable risks of

injury associated with consumer products;” (2) “assist[ing] consumers in evaluating the

comparative safety of consumer products;” (3) “develop[ing] uniform safety standards for

consumer products . . . ;” and (4) “promot[ing] research and investigation into the causes and

prevention of product-related deaths, illnesses, and injuries.” Id. § 2051(b). The CPSC consists of

five Commissioners nominated by the President and confirmed by the Senate. Id. § 2053(a). Each

Commissioner must hold “background and expertise in areas related to consumer products and

protection of the public from risks to safety.” Id. The CPSC has the statutory authority to

promulgate product-safety standards, id. § 2056(a); to conduct administrative proceedings and

investigations, with the power to issue and enforce subpoenas, id. §§ 2064, 2076(a), (b)(3), (c);

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and to initiate civil and criminal actions in federal court to enforce consumer product safety laws,

see id. §§ 2069, 2070(a), 2071(a), 2076(b)(7); among other functions and powers.

        Congress established the CPSC as an “independent regulatory commission,” id. § 2053(a),

to ensure that it remained an expert body “unfettered by political dictates, self-interested industry

pressure or blind consumer zeal,” 122 Cong. Rec. S15211 (daily ed. May 24, 1976). Specific

statutory guardrails were enacted to protect the Commission from political pressures, abrupt

changes in composition, and loss of agency expertise. First, Congress provided that the

Commissioners would serve staggered, seven-year terms, 15 U.S.C. § 2053(b)(1), and that any

Commissioner appointed to fill a vacancy created by the premature departure of a predecessor

would be appointed only for the remainder of the predecessor’s term, id. § 2053(b)(2). 1 Second,

Congress provided that “[n]ot more than three of the Commissioners shall be affiliated with the

same political party.” Id. § 2053(c). Third, and critical to the case here, Congress provided that the

Commissioners may be “removed by the President” before the expiration of their terms only “for

neglect of duty or malfeasance in office but for no other cause.” Id. § 2053(a).

        B. Plaintiffs’ Purported Removal

        The facts relevant to this case are uncontested. See ECF No. 21-2 (Defendants’ Statement

of Undisputed Material Facts, raising no dispute with Plaintiffs’ Statement of Undisputed Material

Facts, ECF No. 18-2). Each Plaintiff was nominated by President Joseph R. Biden and confirmed

by the U.S. Senate to serve as a Commissioner of the CPSC. ECF No. 18-2, ¶ 1. Plaintiff Boyle

was confirmed on June 2, 2022, to serve out the remainder of her predecessor’s term, set to expire

on October 27, 2025. Id. ¶ 2. Plaintiff Hoehn-Saric was confirmed on October 7, 2021, to serve


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          A Commissioner appointed to serve out their predecessor’s term may “continue to serve after the
expiration of this term until his successor has taken office” or up to a maximum of one year. 15 U.S.C. §
2053(b)(2).

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out the remainder of his predecessor’s term, set to expire on October 27, 2027. Id. ¶ 3. Plaintiff

Trumka was confirmed on November 16, 2021, to serve a full seven-year term expiring on October

27, 2028. Id. ¶ 4. Each Plaintiff has a substantial professional background in the field of consumer

protection and the work of the CPSC. See ECF No. 6-2, ¶ 1; ECF No. 6-3, ¶ 1; ECF No. 6-4, ¶ 1.

Plaintiffs have performed ably in their roles and have never been accused of neglect of duty or

malfeasance in office by either President Trump or President Biden. ECF No. 18-2, ¶ 5.

       Between May 8 and May 9, 2025, Plaintiffs were notified of their removal from their

positions as three of the CPSC’s five sitting Commissioners. On May 8, Plaintiffs Boyle and

Trumka each received an email from Trent Morse, the Deputy Director of Presidential Personnel,

which stated, in full: “On behalf of President Donald J. Trump, I am writing to inform you that

your position on the Consumer Product Safety Commission is terminated effective immediately.

Thank you for your service.” Id. ¶¶ 6–7. The following day, Plaintiff Hoehn-Saric and two of his

staff members attempted to access their offices at the CPSC headquarters 2 but were barred by

CPSC security. Id. ¶ 9. While waiting in the lobby, Plaintiff Hoehn-Saric received a phone call

from Acting Chairman Feldman, who informed him that President Trump had terminated him from

his role as a CPSC Commissioner. Id. ¶ 10.

       Since May 9, Plaintiffs have been unable to enter their offices unescorted, log in to the

CPSC computer network, and access their CPSC email accounts and electronic files. Id. ¶ 13.

Plaintiffs were required to return their CPSC identification badges, keys, phones, credit cards, and

computer equipment. Id. ¶ 14. Plaintiffs’ staff members have also received termination notices that

cite Plaintiffs’ removal from office as the basis for termination. Id. Plaintiffs have received




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           CPSC headquarters is located in Bethesda, Maryland. ECF No. 1, ¶ 6.
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“separation packages” and understand that they will no longer be receiving the pay and benefits to

which CPSC Commissioners are entitled. Id. ¶ 15.

       C. Procedural History

       On May 21, 2025, Plaintiffs filed a Complaint for Declaratory and Injunctive Relief against

Defendants Trump, Bessent, Vought, and Feldman, in their official capacities. ECF No. 1. On the

same date, Plaintiffs filed a Motion for a Temporary Restraining Order (“TRO”) and Preliminary

Injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure. ECF No. 6. This motion

seeks preliminary injunctive relief to prevent Defendants Bessent, Vought, and Feldman from

“taking any action to effectuate President Donald J. Trump’s purported termination of Plaintiffs

from their roles as Commissioners of the [CPSC.]” ECF No. 6-5. Defendants filed a response in

opposition to the motion on May 26, 2025. ECF No. 15.

       On May 27, 2025, the Court conducted a hearing on Plaintiffs’ request for a TRO and

declined to issue temporary or preliminary injunctive relief. With the parties’ agreement, the Court

entered an Order setting a schedule for expedited briefing of Plaintiffs’ motion for summary

judgment. ECF No. 17. Thereafter, Plaintiffs filed a motion for summary judgment, ECF No. 18;

Defendants filed a cross-motion for summary judgment and response in opposition to Plaintiffs’

motion, ECF No. 21; and Plaintiffs filed a reply, ECF No. 22. On June 6, 2025, the Court conducted

a hearing on the motions and took them under advisement.

       Plaintiffs’ central claim in this litigation is that Defendants acted ultra vires and in violation

of the CPSA by removing them as CPSC Commissioners without cause and taking action to

effectuate the purported terminations. ECF Nos. 18, 18-1 (Plaintiffs’ Motion and Memorandum).

Plaintiffs seek two forms of relief. First, Plaintiffs request a declaration that the “purported

termination of Plaintiffs from their roles as [CPSC] Commissioners” is unlawful and “without

legal effect.” ECF No. 18-6 (proposed order). Second, Plaintiffs seek to enjoin Defendants
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Bessent, Vought, and Feldman from “taking any action to effectuate the unlawful terminations

. . . .” Id. In their cross-motion for summary judgment, Defendants primarily argue that the

statutory for-cause restriction on the removal of CPSC Commissioners is inconsistent with the

President’s Article II removal authority and therefore unconstitutional. ECF Nos. 21, 21-1

(Defendants’ Motion and Memorandum). Defendants also argue that relief in the form of

reinstatement is beyond the authority of this Court. Defs.’ Mem. at 1.

II.    STANDARD OF REVIEW

       A court may grant a party’s summary judgment motion under Rule 56 if “the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.

Ct. 2548, 2552, 91 L. Ed. 2d 265 (1986); Cybernet, LLC v. David, 954 F.3d 162, 168 (4th Cir.

2020). A fact is “material” if it “might affect the outcome of the suit under the governing law[,]”

and a genuine issue of material fact exists “if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Anderson v. Liberty Lobby Inc., 477 U.S. 242, 248, 106

S. Ct. 2505, 2510, 91 L. Ed. 2d 202 (1986) (emphasis omitted); see also Raynor v. Pugh, 817 F.3d

123, 130 (4th Cir. 2016). A party can establish the absence or presence of a genuinely disputed

fact through “particular parts of materials in the record, including depositions, documents,

electronically stored information, affidavits or declarations, stipulations (including those made for

purposes of the motion only), admissions, interrogatory answers, or other materials.” Fed. R. Civ.

P. 56(c)(1)(A). The court must view all the facts, including reasonable inferences to be drawn from

them, in the light most favorable to the nonmovant, Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 1356, 89 L. Ed. 2d 538 (1986), but the court is not




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permitted to weigh the evidence, make credibility determinations, or decide the truth of disputed

facts. Anderson, 477 U.S. at 249, 106 S. Ct. at 2510–11.

III.   RELEVANT CASE LAW

       Article II of the U.S. Constitution vests “[t]he executive Power” in the President, who

“shall take Care that the Laws be faithfully executed[.]” The President’s “executive Power” under

Article II “generally includes the ability to remove executive officials, for it is ‘only the authority

that can remove’ such officials that they ‘must fear and, in the performance of [their] functions,

obey.’” Seila L. LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 213–14, 140 S. Ct. 2183, 2197,

207 L. Ed. 2d 494 (2020) (quoting Bowsher v. Synar, 478 U.S. 714, 726, 106 S. Ct. 3181, 3188,

92 L. Ed. 2d 583 (1986)); see also Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S.

477, 513–14, 130 S. Ct. 3138, 3164, 177 L. Ed. 2d 706 (2010) (“The Constitution that makes the

President accountable to the people for executing the laws also gives him the power to do so. That

power includes, as a general matter, the authority to remove those who assist him in carrying out

his duties.”); Collins v. Yellen, 594 U.S. 220, 252, 141 S. Ct. 1761, 1784, 210 L. Ed. 2d 432 (2021)

(“The removal power helps the President maintain a degree of control over the subordinates he

needs to carry out his duties as the head of the Executive Branch, and it works to ensure that these

subordinates serve the people effectively and in accordance with the policies that the people

presumably elected the President to promote.”). For Congress “to draw to itself . . . the power to

remove or the right to participate in the exercise of that power” would “infringe the constitutional

principle of the separation of governmental powers.” Myers v. United States, 272 U.S. 52, 161, 47

S. Ct. 21, 40, 71 L. Ed. 160 (1926).

       But the President’s power of removal is not absolute. The U.S. Supreme Court has

recognized two exceptions that “represent what up to now have been the outermost constitutional


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limits of permissible congressional restrictions on the President’s removal power.” Seila Law, 591

U.S. at 218, 140 S. Ct. at 2200 (quoting PHH Corp. v. CFPB, 881 F.3d 75, 196 (D.C. Cir. 2018)

(Kavanaugh, J., dissenting)). First, in Humphrey’s Executor v. United States, 295 U.S. 602, 55 S.

Ct. 869, 79 L. Ed. 1611 (1935), and Wiener v. United States, 357 U.S. 349, 78 S. Ct. 1275, 2 L.

Ed. 2d 1377 (1958), the Supreme Court upheld tenure protections for officers of “multimember

bodies with ‘quasi-judicial’ or ‘quasi-legislative’ functions[.]” Seila Law, 591 U.S. at 216–17, 140

S. Ct. at 2198–99. Second, in United States v. Perkins, 116 U.S. 483, 6 S. Ct. 449, 29 L. Ed. 700

(1886), and Morrison v. Olson, 487 U.S. 654, 108 S. Ct. 2597, 101 L. Ed. 2d 569 (1988), the

Supreme Court upheld tenure protections for “inferior officers with limited duties and no

policymaking or administrative authority[.]” Seila Law, 591 U.S. at 217–18, 140 S. Ct. at 2199–

200. Only the exception first recognized in Humphrey’s Executor is at issue here.

       A. Humphrey’s Executor and its progeny

       In Humphrey’s Executor, the Supreme Court unanimously upheld a statutory provision

preventing the President from removing members of the Federal Trade Commission (“FTC”)

except for “inefficiency, neglect of duty, or malfeasance in office.” 295 U.S. at 619, 55 S. Ct. at

870 (quoting 15 U.S.C. § 41). “Whether the power of the President to remove an officer shall

prevail over the authority of Congress to condition the power by fixing a definite term and

precluding a removal except for cause will depend upon the character of the office[.]” Id. at 631,

55 S. Ct. at 875, quoted in Morrison, 487 U.S. at 687, 108 S. Ct. at 2617. Examining the features

of the FTC, the Court described this Commission as “an administrative body created by Congress

to carry into effect legislative policies embodied in the statute in accordance with the legislative

standard therein prescribed, and to perform other specified duties as a legislative or as a judicial

aid.” Humphrey’s Executor, 295 U.S. at 628, 55 S. Ct. at 874. “Such a body[,]” the Court stated,



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“[could not] in any proper sense be characterized as an arm or an eye of the executive[,]” noting

that it performed its duties “without executive leave and, in the contemplation of the statute,

. . . free from executive control.” Id. The Commission was meant to be “nonpartisan” and “act with

entire impartiality.” Id. at 624, 55 S. Ct. at 872. The Court described the FTC’s duties as “neither

political nor executive,” but instead called for “the trained judgment of a body of experts”

“informed by experience.” Id.

        Considering the powers and functions of the FTC, the Court described them as “quasi

legislative” in part and “quasi judicial” in part. Id. at 628, 55 U.S. at 874. The FTC acted “as a

legislative agency” in “making investigations and reports” to Congress and “as an agency of the

judiciary[]” in making recommendations to courts “as a master in chancery . . . .” Id., quoted in

Seila Law, 591 U.S. at 215, 140 S. Ct. at 2198. To the extent that the FTC exercised any “executive

function,” it was distinguishable from “executive power in the constitutional sense,” as the FTC

exercised executive functions “in the discharge and effectuation of its quasi legislative or quasi

judicial powers, or as an agency of the legislative or judicial departments of the government.” 3

Humphrey’s Executor, 295 U.S. at 628, 50 S. Ct. at 874.

        The Court then concluded that the President does not possess an “illimitable” power to

remove officers like the members of the FTC, stating as follows:

                The authority of Congress, in creating quasi legislative or quasi
                judicial agencies, to require them to act in discharge of their duties
                independently of executive control cannot well be doubted; and that
                authority includes, as an appropriate incident, power to fix the
                period during which they shall continue, and to forbid their removal
                except for cause in the meantime. For it is quite evident that one who
                holds his office only during the pleasure of another cannot be

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          In Morrison v. Olson, the Supreme Court called into doubt its conclusion in Humphrey’s Executor
that the FTC did not exercise executive power. 487 U.S. at 690 n.28, 108 S. Ct. at 2618 n.28, cited in Seila
Law, 591 U.S. at 216 n.2, 140 S. Ct. at 2198 n.2.

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                  depended upon to maintain an attitude of independence against the
                  latter’s will.

Id. at 629, 55 S. Ct. at 874.

           Two decades later, in Wiener, the Supreme Court applied its holding in Humphrey’s

Executor to uphold a suit for backpay by a member of the War Claims Commission who claimed

that he was unlawfully discharged without cause. Wiener, 357 U.S. at 356, 78 S. Ct. at 1279. The

statute that created this Commission provided that its three members were to be “appointed by the

President, by and with the advice and consent of the Senate.” Id. at 350, 78 S Ct. at 1276. The

statute included “no provision for removal of a Commissioner[,]” but it prescribed that the

Commission would exist and conduct its work for a limited term. Id. While recognizing the

President’s general removal power announced in Myers, the Court in Wiener viewed Humphrey’s

Executor as “narrowly confin[ing] the scope of the Myers decision to include only ‘all purely

executive officers.’” Id. at 352, 78 S. Ct. at 1277 (quoting Humphrey’s Executor, 295 U.S. at 628,

55 S. Ct. at 874). Following the reasoning in Humphrey’s Executor, the Court examined the

character of the War Claims Commission and described it as “an adjudicatory body” intended to

be independent of executive control. Id. at 353–56, 78 S. Ct. at 1278–79. The Court ultimately

rejected “the claim that the President could remove a member of an adjudicatory body like the War

Claims Commission merely because he wanted his own appointees on such a Commission[.]” Id.

at 356, 78 S. Ct. at 1279. “[N]o such power is given to the President directly by the Constitution,

and none is impliedly conferred upon him by statute simply because Congress said nothing about

it.” Id.

           At each opportunity since Wiener, the Supreme Court has declined to overturn Humphrey’s

Executor. See, e.g., Free Enterprise Fund, 561 U.S. at 483–84, 130 S. Ct. at 3146–47 (reviewing

constitutional limits on the President’s removal power and stating, “The parties do not ask us to

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reexamine any of these precedents, and we do not do so.”); Seila Law, 591 U.S. at 228, 140 S. Ct.

at 2206 (“While we do not revisit Humphrey’s Executor or any other precedent today, we decline

to elevate it into a freestanding invitation for Congress to impose additional restrictions on the

President’s removal authority.”). The Court has, however, reconsidered and recast some views

articulated in Humphrey’s Executor and Wiener. In Morrison, for instance, the Court recognized

the “difficulty of defining” “executive” as a category and stated that “the determination of whether

the Constitution allows Congress to impose a ‘good cause’-type restriction on the President’s

power to remove an official cannot be made to turn on whether or not that official is classified as

‘purely executive.’” 487 U.S. at 689, 108 S. Ct. at 2618; see id. at 487 U.S. at 689 n.28, 108 S. Ct.

at 2618 n.28.

       B. Seila Law

       More recently, in Seila Law, the Supreme Court declined to extend the Humphrey’s

Executor exception to justify statutory tenure protection for the sole director of the Consumer

Financial Protection Bureau (“CFPB”). Seila Law, 591 U.S. at 220–32. 140 S. Ct. at 2201–07.

Unlike the multimember Commissions at issue in Humphrey’s Executor and Wiener, the CFPB

was structured, by statute, under the leadership of a single director appointed to serve a term of

five years and who could only be removed for “inefficiency, neglect of duty, or malfeasance in

office.” 12 U.S.C. § 5491(c)(3). The Court held that this statutory protection against removal ran

afoul of the President’s Article II removal power. Seila Law, 591 U.S. at 213, 140 S. Ct. at 2197.

       As relevant here, the Supreme Court in Seila Law first held that Humphrey’s Executor did

not resolve the question of whether the CFPB Director’s tenure protection was constitutional. Id.

at 218–20, 140 S. Ct. at 2199–201. Foremost, the Court noted structural differences between the

2020 CFPB and the 1935 FTC at issue in Humphrey’s Executor:



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               Unlike the New Deal-era FTC upheld [in Humphrey’s Executor],
               the CFPB is led by a single Director who cannot be described as a
               “body of experts” and cannot be considered “non-partisan” in the
               same sense as a group of officials drawn from both sides of the aisle.
               295 U.S. at 624, 55 S. Ct. 869. Moreover, while the staggered terms
               of the FTC Commissioners prevented complete turnovers in agency
               leadership and guaranteed that there would always be some
               Commissioners who had accrued significant expertise, the CFPB’s
               single-Director structure and five-year term guarantee abrupt shifts
               in agency leadership and with it the loss of accumulated expertise.

Id. at 218, 140 S. Ct. at 2200. The Court then considered the governmental powers entrusted to the

CFPB’s single Director, noting that this single office carried rulemaking authority to administer

19 federal statutes, as well as “unilateral[]” powers to “issue final decisions awarding legal and

equitable relief in administrative adjudications” and “to seek daunting monetary penalties against

private parties on behalf of the United States in federal court[.]” Id. at 218–19, 140 S. Ct. at 2200.

       The Supreme Court ultimately declined to exempt the CFPB Director from the President’s

general removal power, concluding that “an independent agency led by a single Director and

vested with significant executive power . . . has no basis in history and no place in our

constitutional structure.” Id. at 220, 140 S. Ct. at 2201. Throughout its analysis, the Court

repeatedly emphasized the concentration of the CFPB’s “significant governmental power in the

hands of a single individual accountable to no one.” Id. at 224, 140 S. Ct. at 2203. The Court

suggested that “the most telling indication of [the CFPB’s] severe constitutional problem” was its

“almost wholly unprecedented” structure. Id. at 220, 140 S. Ct. at 2201. The Court noted that there

were only a few “isolated” examples of good-cause tenure protections for “principal officers who

wield power alone rather than as members of a board or commission.” Id. “In addition to being a

historical anomaly, the CFPB’s single-Director configuration is incompatible with our

constitutional structure. Aside from the sole exception of the Presidency, that structure


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scrupulously avoids concentrating power in the hands of any single individual.” Id. at 222–23, 140

S. Ct. at 2202.

        Not only was the CFPB Director entrusted with an array of policymaking and enforcement

powers “[w]ith no colleagues to persuade, and no boss or electorate looking over her shoulder,”

but other unique statutory features of the agency further insulated the Director from the electorally

accountable President. Id. at 225, 140 S. Ct. at 2204. First, the Director’s five-year term would

leave some Presidents with no opportunity “to shape [the CFPB’s] leadership and thereby

influence its activities.” Id. And the single-Director leadership structure gave Presidents no

opportunity “to appoint any other leaders—such as a chair or fellow members of a Commission or

Board—who [could] serve as a check on the Director’s authority and help bring the agency in line

with the President’s preferred policies.” Id. Second, unlike most independent agencies, the CFPB

receives its funding outside of the normal appropriations process and therefore beyond the

President’s influence over appropriations. Id. at 226, 140 S. Ct. at 2204. Indeed, “the Director

receives [funds for the CFPB] from the Federal Reserve, which is itself funded outside of the

annual appropriations process” and beyond the control of the electorate. Id.

        In consideration of the foregoing, the Court held that the CFPB Director’s statutory tenure

protection was unconstitutional. Id. at 220, 140 S. Ct. at 2201.

IV.     PLAINTIFFS’ REMOVAL FROM OFFICE

        A. Violation of 15 U.S.C. § 2053(a)

        No material facts are disputed in this case. See ECF Nos. 18-2, 21-2. 4 On May 8 and May

9, 2025, Plaintiffs received notifications on behalf of President Trump purporting to remove them


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          Plaintiffs’ Statement of Undisputed Facts, ECF No. 18-2, is supported by sworn declarations and
exhibits provided by each Plaintiff, ECF Nos. 6-2, 6-3, 6-4, 18-3, 18-4, 18-5. Defendants do not dispute
Plaintiffs’ Statement. See ECF No. 21-2.

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from their duly appointed positions as three of five sitting Commissioners of the CPSC. ECF No.

18-2, ¶¶ 6–7, 10. Since their purported terminations, Plaintiffs have been prevented from returning

to their offices at CPSC headquarters without an escort and accessing CPSC resources necessary

to perform their statutorily mandated duties. Id. ¶¶ 13–14. No Plaintiff has finished serving their

term. Id. ¶¶ 1–4; see also 15 U.S.C. § 2053(b) (prescribing CPSC Commissioners’ terms). By

statute, the President could only remove Plaintiffs from their positions as CPSC Commissioners

“for neglect of duty or malfeasance in office . . . .” 15 U.S.C. § 2053(a). But no Plaintiff has

neglected their official duties, committed official malfeasance, or been accused of any neglect of

duty or malfeasance. ECF No. 18-2, ¶ 5. Therefore, Plaintiffs’ purported removals from office and

efforts to prevent them from fulfilling their statutory duties as CPSC Commissioners violated 15

U.S.C. § 2053(a).

       Although this case presents no material factual disputes, the contested legal issue central

to this case is whether Plaintiffs’ statutory tenure protection in 15 U.S.C. § 2053(a) infringes upon

the President’s Article II removal power. This Court holds that § 2053(a) is not inconsistent with

Article II, agreeing with several other courts that statutory tenure protection for CPSC

Commissioners is constitutionally justified by the Humphrey’s Executor exception to the

President’s removal power. See Consumers’ Research v. CPSC, 91 F.4th 342, 351–56 (5th Cir.

2024), cert. denied, 145 S. Ct. 414, 220 L. Ed. 2d 170 (2024); Leachco, Inc. v. CPSC, 103 F.4th

748, 762–62 (10th Cir. 2024), cert. denied, 145 S. Ct. 104 (2025); United States v. SunSetter Prods.

LP, 2024 WL 1116062, at *2–4 (D. Mass. Mar. 14, 2024).

       B. Constitutionality of the Statutory For-Cause Removal Protections in 15 U.S.C. §
          2053(a)

       “[W]hether Congress can ‘condition the [President’s power of removal] by fixing a definite

term and precluding a removal except for cause, will depend upon the character of the office.’”


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Morrison, 487 U.S. at 687, 108 S. Ct. at 2617 (quoting Humphrey’s Executor, 295 U.S. at 631, 55

S. Ct. at 875). “Because the Court limited its holding [in Humphrey’s Executor] ‘to officers of the

kind here under consideration,’ [295 U.S.] at 632, 55 S. Ct. 869, the contours of the Humphrey’s

Executor exception [to the President’s removal power] depend upon the characteristics of the

agency before the Court.” Seila Law, 591 U.S. at 215, 140 S. Ct. at 2198. Specifically,

“Humphrey’s Executor permitted Congress to give for-cause removal protections to a

multimember body of experts, balanced along partisan lines, that performed legislative and judicial

functions and was said not to exercise any executive power.” Id. at 216, 140 S. Ct. at 2199; but see

Morrison, 487 U.S. at 689, 108 S. Ct. at 2618 (“[T]he determination of whether the Constitution

allows Congress to impose a ‘good cause’-type restriction on the President’s power to remove an

official cannot be made to turn on whether or not that official is classified as ‘purely executive.’”).

       Although Humphrey’s Executor’s characterization of the FTC in 1935 as non-executive

has not withstood the test of time, see id. at 690, 108 S. Ct. at 2619, n.28, “[t]he Court identified

several organizational features that helped explain [this] characterization[,]” Seila Law, 591 U.S.

at 216, 140 S. Ct. at 2198–99:

               Composed of five members—no more than three from the same
               political party—the Board was designed to be “non-partisan” and to
               “act with entire impartiality.” [Humphrey’s Executor, 295 U.S.] at
               624, 55 S. Ct. 869; see id., at 619–620, 55 S. Ct. 869. The FTC’s
               duties were “neither political nor executive,” but instead called for
               “the trained judgment of a body of experts” “informed by
               experience.” Id., at 624, 55 S. Ct. 869 (internal quotation marks
               omitted). And the Commissioners’ staggered, seven-year terms
               enabled the agency to accumulate technical expertise and avoid a
               “complete change” in leadership “at any one time.” Ibid.

Id. Humphrey’s Executor remains good law and is binding on this Court, and, for reasons explained

below, the Court finds that it applies to the CPSC.


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       First, the organization of the CPSC mirrors that of the FTC. The CPSC is “a multimember

body of experts, balanced along partisan lines” and appointed to serve “staggered, seven-year

terms . . . .” Id.; see also 15 U.S.C. 2053(a) (providing that the CPSC shall “consist[] of five

Commissioners” who hold “background and expertise in areas related to consumer products and

protection of the public from risks to safety”); id. § 2053(b) (assigning staggered seven-year terms

to CPSC Commissioners, providing that “[a]ny Commissioner appointed to fill a vacancy

occurring prior to the expiration of the term for which his predecessor was appointed shall be

appointed only for the remainder of such term”); id. § 2053(c) (providing that “[n]ot more than

three of the [CPSC] Commissioners shall be affiliated with the same political party”). These

structural features the CPSC shares with the FTC help the agency perform its functions impartially,

ensures that it retains its expertise, and “avoid[s] a ‘complete change’ in leadership ‘at any one

time.’” Seila Law, 591 U.S. at 216, 140 S. Ct. at 2198–99 (quoting Humphrey’s Executor, 295

U.S. at 624, 55 S. Ct. at 872).

       Like that of the FTC, the CPSC’s structure stands in stark contrast to the “anomalous”

single-Director organization of the CFPB that the Supreme Court deemed unconstitutional in Seila

Law. See Seila Law, 591 U.S. at 213–32, 140 S. Ct. at 2197–2207; Consumers’ Research, 91 F.4th

at 354 (describing “CFPB’s single-Director structure” as “the defining feature that the Supreme

Court in Seila Law relied on to hold the CFPB unconstitutional”). Unlike the CFPB’s single-

Director structure, the bipartisan, multimember structure of the CPSC and the FTC permits each

Commissioner’s authority to be checked by the others, encourages group deliberation and

consensus building, and prevents any one Commissioner from holding an outsized amount of

power. See Seila Law, 591 U.S. at 224–25, 140 S. Ct. at 2203–04 (noting that CFPB’s Director

has “no colleagues to persuade,” and the CFPB’s structure “vest[s] significant governmental power



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in the hands” of a sole Director and does not permit opportunities for the Director’s authority to

be checked by “a chair or fellow members of a Commission or Board”).

        While sharing the FTC’s organizational features, the CPSC also performs functions similar

or identical to those of the FTC which, in 1935, Humphrey’s Executor described as “quasi

legislative and quasi judicial.” 5 Humphrey’s Executor, 295 U.S. at 629, 55 S. Ct. at 874. Both the

FTC and CPSC hold “wide powers of investigation in respect of” private parties within their



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           In Morrison, the Supreme Court explained that “the characterization of the agencies in
Humphrey’s Executor and Wiener as ‘quasi-legislative’ or ‘quasi-judicial’ in large part reflected our
judgment that it was not essential to the President’s proper execution of his Article II powers that these
agencies be headed up by individuals who were removable at will.” Morrison, 487 U.S. at 690–91, 108 S.
Ct. at 2619. The Supreme Court’s reasons for concluding in Humphrey’s Executor that the power to remove
FTC Commissioners at will was not essential to the President’s authority under Article II are fully
applicable to the CPSC Commissioners in the instant case.
        The Morrison Court further stated, in a footnote, that Humphrey’s Executor’s and Wiener’s use of
the terms “quasi-legislative” and “quasi-judicial” may also “describe the circumstances in which Congress
might be more inclined to find that a degree of independence from the Executive, such as that afforded by
a ‘good cause’ removal standard, is necessary to the proper functioning of the agency or official.” Id. at 691
n.30, 108 S. Ct. at 2619 n.30; see also Humphrey’s Executor, 295 U.S. at 629, 55 S. Ct. at 874 (“The
authority of Congress, in creating quasi legislative or quasi judicial agencies, to require them to act in
discharge of their duties independently of executive control cannot well be doubted; and that authority
includes, as an appropriate incident, power to fix the period during which they shall continue, and to forbid
their removal except for cause in the meantime.” (emphasis added)).
          Here, like the FTC in Humphrey’s Executor and the War Claims Commission in Wiener, Congress
constituted the CPSC to serve as an “independent regulatory commission,” 15 U.S.C. § 2053(a), to ensure
that it remained an expert body “unfettered by political dictates, self-interested industry pressure or blind
consumer zeal,” 122 Cong. Rec. S15211 (daily ed. May 24, 1976); see also Humphrey’s Executor, 295 U.S.
at 628, 55 S. Ct. at 874 (“[FTC’s] duties are performed without executive leave and, in the contemplation
of the statute, must be free from executive control.”); Wiener, 357 U.S. at 353–56, 78 S. Ct. at 1278–79
(emphasizing independence of War Claims Commission). The removal restriction for CPSC
Commissioners in 15 U.S.C. § 2053(a) reflects and serves Congress’s intent that this Commission—like
those at issue in Humphrey’s Executor and Wiener—maintain “a degree of independence from the
Executive” as “necessary to the proper functioning of the [Commission].” Morrison, 487 U.S. at 691 n.30,
108 S. Ct. at 2619 n.30. And, as explained herein, the Court concludes that 15 U.S.C. § 2053(a) serves the
legislative purpose of supporting the CPSC’s independence, expertise, and impartiality without obstructing
“the President’s proper execution of his Article II powers” and duties. Morrison, 487 U.S. at 689–90, 108
S. Ct. at 2618.

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regulatory ambit. Id. at 621, 55 S. Ct. at 871 (citing 15 U.S.C. § 46, prescribing authority of FTC

to conduct investigations of individuals and corporations); 15 U.S.C. § 2076 (granting CPSC

investigatory powers). And both Commissions have the authority to issue substantive rules and

regulations to carry out the objectives of the statutes within their purview. See Federal Trade

Commission Act, Pub. L. No. 63-203, § 6(g), 38 Stat. 717, 722 (1914), codified as amended at 15

U.S.C. § 46(g) (empowering FTC “to make rules and regulations for the purpose of carrying out

the provisions of this Act”); 15 U.S.C. § 2056(a) (empowering CPSC to promulgate “consumer

product safety standards”). 6 Both the FTC and the CPSC are authorized to enforce the statutes they

administer and conduct administrative adjudications as prescribed in those statutes. See

Humphrey’s Executor, 295 U.S. at 620–21, 55 S. Ct. at 870–71 (citing 15 U.S.C. § 45, authorizing

and directing FTC “to prevent” private parties “from using unfair methods of competition in

commerce” by issuing complaints alleging violations, conducting hearings, making factual

findings, issuing orders, and seeking any further relief in federal court); 15 U.S.C. §§ 2061,

2064(c)–(d) (authorizing the CPSC to file actions for seizure of “imminently hazardous consumer

product[s]” and to order remedial measures upon finding a substantial product hazard).

        Defendants emphasize the CPSC’s authority to enforce the laws within its jurisdiction

through enforcement actions in federal court, which the Seila Law Court called “a quintessentially

executive power not considered in Humphrey’s Executor.” Defs.’ Mem. at 11–12 (quoting Seila

Law, 591 U.S. at 219, 140 S. Ct. at 2200). However, the CPSC’s authority to prosecute civil and

criminal enforcement actions in federal court is restricted by the consent and involvement of the




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          Defendants argue that Humphrey’s Executor did not mention the 1935 FTC’s authority to issue
substantive regulations, much less rely on this authority in its discussion of executive power. Defs.’ Mem.
at 12. However, the FTC’s rulemaking authority is plain on the face the Federal Trade Commission Act,
which is cited and heavily relied upon in Humphrey’s Executor.

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Attorney General, who is accountable to, and subject to at-will removal by, the President.

Specifically, the CPSC cannot prosecute or defend a civil case in federal court without written

notice to the Attorney General and the Attorney General’s election whether to represent the

Commission in that civil action. 15 U.S.C. § 2076(b)(7)(A). Although the CPSA prescribes a role

for the CPSC to play in criminal enforcement of consumer product safety laws, such criminal

actions must be prosecuted through, or with the concurrence of, the Attorney General. Id. §

2076(b)(7)(B).

       Defendants argue that the Humphrey’s Executor exception does not apply to the CPSC

because its powers, including the aforementioned enforcement powers, exceed those of the 1935

FTC and constitute “substantial executive power.” Defs.’ Mem. at 8–15 (citing Seila Law, 591

U.S. at 219, 140 S. Ct. at 2200). To be sure, at one point, the Court in Seila Law described the

Humphrey’s Executor exception as applicable to “multimember expert agencies that do not wield

substantial executive power[.]” Seila Law, 591 U.S. at 218, 140 S. Ct. at 2199–200. At other points,

however, Seila Law describes the exception as applicable to “expert agencies led by a group of

principal officers[,]” id. at 204, 140 S. Ct. at 2192 (emphasis in original), and “multimember bodies

with ‘quasi-judicial’ or ‘quasi-legislative’ functions,” id. at 217, 140 S. Ct. at 2199, without

mention of any degree of “executive power.” In Morrison, the Court recognized “[t]he difficulty

of defining such categories of ‘executive’ or ‘quasi-legislative’ officials[,]” and noted that, by

modern standards, the 1935 FTC—the agency at issue in Humphrey’s Executor—would be

“considered ‘executive,’ at least to some degree.” 487 U.S. at 690 n.28, 108 S. Ct. at 2619 n.28.

Still, Humphrey’s Executor remains good law and is binding. But, as the Fifth Circuit concluded

in Consumers’ Research, the Supreme Court’s precedents leave unclear “how much” executive

power an agency must wield “before [it] loses protection under the Humphrey’s exception.” 91



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F.4th at 353. And this Court’s reading of the Supreme Court’s precedents suggests that the exercise

of powers described as “executive” in nature, by itself, is not dispositive of whether an agency is

disqualified from the Humphrey’s Executor exception.

        First, in Morrison, the Supreme Court stated that assessing the constitutionality of a

removal restriction should not focus on “rigid” categorization of an official’s powers as “purely

executive,” “quasi-legislative,” and “quasi-judicial.” Morrison, 487 U.S. at 689–90, 108 S. Ct. at

2618. Instead, the Court’s removal analysis focuses on “ensur[ing] that Congress does not interfere

with the President’s exercise of the ‘executive power’ and his constitutionally appointed duty to

‘take care that the laws be faithfully executed’ under Article II.” Id.

        Later, in Seila Law, the Court did not consider the “significant executive power” entrusted

to the CFPB in isolation, but instead considered it within the context of its historically anomalous

single-Director leadership structure. See 591 U.S. at 213–32, 140 S. Ct. at 2197–2207. The Court

invalidated the CFPB Director’s statutory removal restriction because the agency was both “led

by a single Director and vested with significant executive power.” Id. at 220, 140 S. Ct. at 2201

(emphasis added). Notwithstanding the “significant executive power” wielded by the CFPB, Chief

Justice Roberts suggested in Part IV of the Court’s opinion 7 that Congress could solve the

constitutional problem presented in the removal restriction by “converting the CFPB into a

multimember agency.” Id. at 237, 140 S. Ct. at 2211.




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           This part of the Chief Justice’s opinion was not joined by a majority of the Court, but it was joined
by two other Justices. And a separate group of four Justices joined an opinion dissenting from the majority’s
conclusion that the CFPB’s removal restriction was unconstitutional. Seila Law, 591 U.S. at 284–96, 140
S. Ct. at 2238–44 (Kagan, J., concurring in the judgment with respect to severability and dissenting in part).
The foregoing suggests that a majority of the Court at the time of Seila Law would have likely approved of
a statutory for-cause removal restriction for a multimember commission like the CPSC.


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        Finally, in Collins, the Court clarified that “the nature and breadth of an agency’s authority

is not dispositive in determining whether Congress may limit the President’s power to remove its

head.” 594 U.S. at 251–52, 141 S. Ct. at 1784. “Courts are not well-suited to weigh the relative

importance of the regulatory and enforcement authority of disparate agencies,” and “the

constitutionality of removal restrictions” does not “hinge[] on such an inquiry.” Id. at 253, 141 S.

Ct. at 1785.

        In accordance with Morrison and Collins, this Court declines Defendants’ invitation to

engage in categorizing the CPSC’s varied set of functions and powers as executive or non-

executive. The degree to which the CPSC wields executive power (in the modern sense) alone

does not determine whether the removal restriction in 15 U.S.C. § 2053(a) “interfere[s] with the

President’s exercise” of Article II powers and duties. Morrison, 487 U.S. at 689–90, 108 S. Ct. at

2618. The Supreme Court’s reasoning in Seila Law demonstrates that the agency’s structure also

must be considered. In that case, the CFPB’s organization under a single Director with statutory

protection against removal, while serving a five-year term, impermissibly insulated the agency

from the President’s influence. Seila Law, 591 U.S. at 213–20, 140 S. Ct. at 2197–201. The CPSC,

in contrast, is not so insulated.

        The CPSC’s five-member, staggered-term design would likely provide multiple

opportunities each presidential term for an electorally accountable President to appoint a new

Commissioner. 8 Such frequent opportunities for the elected President “to shape [the

Commission’s] leadership and thereby influence its activities[]” were not available under CFPB’s


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         Indeed, President Trump will have the opportunity to appoint Plaintiff Boyle’s successor when
her term expires no later than October 27 of this year and, at that point, possibly create a majority on the
Commission aligned with his political preferences. ECF No. 18-2, ¶ 2; 15 U.S.C. § 2053(a)–(c).
Opportunities to appoint Plaintiffs Hoehn-Saric’s and Trumka’s successors will follow on October 27,
2027, and October 27, 2028. ECF No. 18-2, ¶¶ 3–4.

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leadership structure, given the single Director’s five-year term and for-cause removal restriction.

Id. at 225, 140 S. Ct. at 2204. Thus, the leadership structure of the CPSC, even with statutory

tenure protection, permits presidential control and electoral accountability to a degree that was

foreclosed by the CFPB Director’s statutory tenure protection before it was invalidated in Seila

Law. See id. at 220–26, 140 S. Ct. at 2201–04; Consumers’ Research, 91 F.4th at 354 (“[CPSC]

Commissioners’ staggered appointment schedule means that each President does ‘have an[]

opportunity to shape [the Commission’s] leadership and thereby influence its activities.’” (quoting

Seila Law, 591 U.S. at 226, 140 S. Ct. at 2204)). Furthermore, like most independent agencies—

and unlike the CFPB—the CPSC is funded through the normal appropriations process, further

subjecting it to presidential influence and electoral accountability. See id. 591 U.S. at 226, 140 S.

Ct. at 2204 (describing how CFPB’s unique funding mechanism outside the appropriations process

further insulates that agency from the President’s influence and the control of the electorate);

Consumers’ Research, 91 F.4th at 355 (“[T]he President can ‘influence’ the [CPSC’s] activities

via the budgetary process.” (quoting Seila Law, 591 U.S. at 226, 140 S. Ct. at 2204)).

       Thus, unlike tenure protection for the CFPB Director, tenure protection for traditional

multimember, staggered-term agencies like the CPSC and the 1935 FTC “does not interfere with”

the President’s Article II duties and powers, Morrison, 487 U.S. at 689–90, 108 S. Ct. at 2618, and

it is not “incompatible with our constitutional structure[,]” Seila Law, 591 U.S. at 222, 140 S. Ct.

at 2202.

       Finally, and importantly—unlike the CFPB at issue in Seila Law—the structure and powers

Congress prescribed for the CPSC are well-established in the history and tradition of the federal

government. In Consumers’ Research, the Fifth Circuit held that the CPSC’s statutory removal

restriction was supported by “historical pedigree.” 91 F.4th at 354; see also Leachco, 103 F.4th at



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762–63 (Tenth Circuit analyzing and citing Consumers’ Research approvingly). This Court agrees.

In Seila Law, the Supreme Court drew a clear contrast between “a traditional independent agency

headed by a multimember board or commission,” like the CPSC, 591 U.S. at 207, 140 S. Ct. at

2193,    and    the   CFPB’s    “almost    wholly     unprecedented”    single-Director    leadership

structure, describing this “lack of historical precedent” as “[p]erhaps the most telling indication of

[a] severe constitutional problem . . . .” id. at 220, 140 S. Ct. at 2201 (quoting Free Enterprise

Fund, 561 U.S. at 505, 130 S. Ct. at 3159). The Court also recognized that statutory removal

restrictions were in place in “some two-dozen multimember independent agencies,” without giving

any indication of a constitutional defect among these provisions. Seila Law, 591 U.S. at 230, 140

S. Ct. at 2206. The historical precedent for statutory removal restrictions among traditional

multimember independent agencies gives strong indication that 15 U.S.C. § 2053(a) does not

violate Article II.

        In sum, the CPSC closely resembles the 1935 FTC in both structure and function, and

therefore qualifies for the Humphrey’s Executor exception. The restriction against Plaintiffs’

removal under 15 U.S.C. § 2053(a) does not offend the President’s Article II removal power

because the CPSC is a traditional “multimember bod[y] with ‘quasi-judicial’ or ‘quasi-legislative’

functions,” akin to those of the FTC. Seila Law, 591 U.S. at 217, 140 S. Ct. at 2199 (quoting

Humphrey’s Executor, 295 U.S. at 632, 55 S. Ct. 869); see also Morrison, 487 U.S. at 689–90,

108 S. Ct. 2618–19 (explaining Supreme Court’s use of terms “quasi-judicial” or “quasi-

legislative”). Accordingly, the Court finds as a matter of law that the President’s purported removal

of Plaintiffs from their positions as CPSC Commissioners absent “neglect of duty or malfeasance

in office” was unlawful, 15 U.S.C. § 2053(a), and Plaintiffs are entitled to appropriate relief.




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V.     REMEDIES

       A. Declaratory Relief

       The first form of relief Plaintiffs request is a declaratory judgment that “President Donald

J. Trump’s purported termination of Plaintiffs from their roles as Commissioners of the [CPSC] is

ultra vires, contrary to law, and without legal effect.” ECF No. 18-6.

       The Declaratory Judgment Act authorizes a federal district court to “declare the rights and

other legal relations of any interested party seeking such declaration, whether or not further relief

is or could be sought.” 28 U.S.C. § 2201(a). The U.S. Court of Appeals for the Fourth Circuit “has

long recognized the discretion afforded to district courts in determining whether to render

declaratory relief.” Aetna Cas. & Sur. Co. v. Ind–Com Elec. Co., 139 F.3d 419, 421 (4th Cir. 1998)

(per curiam). “A district court should issue a declaration when it will help in ‘clarifying and

settling’ legal relationships and will ‘terminate and afford relief from the uncertainty, insecurity,

and controversy’ driving the suit.” Reyazuddin v. Montgomery Cnty., Md., 754 F. App’x 186, 192–

93 (4th Cir. 2018) (quoting Aetna, 139 F.3d at 423).

       The Court finds declaratory relief to be appropriate in this case. First, there is a live

controversy between the parties over whether the President has lawfully removed, or may lawfully

remove, Plaintiffs from their offices as CPSC Commissioners absent “neglect of duty or

malfeasance in office” under 15 U.S.C. § 2053(a). In seeking, last month, to remove Plaintiffs

from their positions permanently and without cause, the President’s legal interests are presently

adverse to Plaintiffs’. A declaration would serve to clarify and settle the parties’ legal relationships

and relieve the parties from “the uncertainty, insecurity, and controversy” driving this litigation.

Reyazuddin, 754 F. App’x at 192–93 (quoting Aetna, 139 F.3d at 423). Having found that




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Plaintiffs’ removal from their roles as CPSC Commissioners without cause is unlawful, the Court

will grant Plaintiffs a declaration consistent with this ruling.

       B. Injunctive Relief

       Second, Plaintiffs seek an Order from this Court enjoining Defendants Bessent, Vought,

and Feldman from “taking any action to effectuate [Plaintiffs’] purported terminations[.]” Pls.’

Mot. Defendants argue that the Court lacks the equitable power to order Plaintiffs’ reinstatement

and the only relief available to Plaintiffs is backpay. Defs.’ Mem. at 17–20. It is correct that “the

general availability of injunctive relief . . . depend[s] on traditional principles of equity

jurisdiction[,]” Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 318–

19, 119 S. Ct. 1961, 1968, 144 L. Ed. 2d 319 (1999) (citation omitted), and “a court of equity has

no jurisdiction over the appointment and removal of public officers,” In re Sawyer, 124 U.S. 200,

212, 8 S. Ct. 482, 488, 31 L. Ed. 402 (1888). Defendants, however, misconstrue the equitable relief

Plaintiffs seek. Plaintiffs do not seek to enjoin the President to reappoint them. With the President’s

purported termination of each Plaintiff declared effectively invalid as a matter of law, Plaintiffs

seek only to enjoin the President’s subordinates from obstructing their performance of their duties

as CPSC Commissioners and their access to the resources necessary for such performance. This

Court is persuaded that the injunctive relief Plaintiffs seek is available in this case. See Severino v.

Biden, 71 F.4th 1038, 1042–43 (D.C. Cir. 2023) (court’s “jurisdiction does not depend on deciding

whether an injunction ordering a presidential appointment would be available or appropriate”

where the court “can enjoin ‘subordinate executive officials’ to reinstate a wrongly terminated

official ‘de facto,’ even without a formal presidential reappointment”) (citing Swan v. Clinton, 100

F.3d 973, 980 (D.C. Cir. 1996)).




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       After succeeding on the merits of its claim, a plaintiff seeking a permanent injunction must

show: “(1) that it has suffered an irreparable injury; (2) that remedies available at law, such as

monetary damages, are inadequate to compensate for that injury; (3) that, considering the balance

of hardships between the plaintiff and defendant, a remedy in equity is warranted; and (4) that the

public interest would not be disserved by a permanent injunction.” EBay Inc. v. MercExchange,

L.L.C., 547 U.S. 388, 391, 126 S. Ct. 1837, 1839, 164 L. Ed. 2d 641 (2006). When the government

is the defendant, the inquiry into the last two factors merge. Kravitz v. United States Dep’t of Com.,

366 F. Supp. 3d 681, 755 (D. Md. 2019) (citing Pursuing Am. Greatness v. Fed. Election Comm’n,

831 F.3d 500, 511 (D.C. Cir. 2016), and Nken v. Holder, 556 U.S. 418, 435, 129 S. Ct. 1749, 173

L. Ed. 2d 550 (2009)). “The decision to grant or deny permanent injunctive relief is an act of

equitable discretion by the district court[.]” EBay, 547 U.S. at 391, 126 S. Ct. at 1839.

       Here, Plaintiffs have suffered irreparable harm in having been deprived of participation in

the affairs of the CPSC and access to the facilities and resources available and necessary to perform

their statutory duties as CPSC Commissioners for the past month. Plaintiffs are unlawfully barred

from participating in ongoing, consequential decisions of the CPSC that will substantially impact

Commission operations and its work on behalf of the public. ECF No. 18-2, ¶ 16. Specifically,

Plaintiffs are prevented from voting on Acting Chairman Feldman’s proposed plan for reductions

in force at the CPSC, which Plaintiffs believe will aggravate existing understaffing issues and

compromise the Commission’s ability to function. 9 Id. ¶ 17. In Plaintiffs’ absence, the Acting

Chairman will be able to implement his proposed plan without their input or opposition. Id. ¶¶ 17–


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           This Court takes no position on any differences of opinion between Plaintiffs and the Acting
Chairman respecting administration of the CPSC or any other matters of policy. Considering that each
Plaintiff has been duly appointed to serve on the CPSC, however, the Court does find harm in the bar
Defendants have unlawfully placed on their participation in the Commission’s deliberations on matters of
policy.

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19. In the time that the CPSC has been operating without Plaintiffs’ participation, the Commission

has stalled the progress of certain product-safety rules that Plaintiffs believe are necessary to

protect consumers, id. ¶¶ 23–24, 27–28; canceled budgetary and planning meetings that Plaintiffs

view as important, id. ¶ 29; and voted to withdraw a Notice of Proposed Rulemaking for safety

standards that Plaintiffs had supported, id. ¶ 24. The foregoing irreparable harms are certain to

continue in the absence of injunctive relief, as the President has purported to discharge each

Plaintiff permanently from their office as a CPSC Commissioner. Without an injunction, Plaintiffs

would be prevented from serving out the remainder of their limited terms and therefore forever

lose the opportunity to fulfill the statutory duties assigned to them.

        Plaintiffs’ injuries cannot be redressed adequately through money damages or through a

remedy at law (apart from the drastic, last-resort remedy of a writ of mandamus). 10 See Grundmann

v. Trump, --- F. Supp. 3d ---, 2025 WL 782665, at *16–17 (D.D.C. Mar. 12, 2025) (“[a] check in

the mail does not address the gravamen” of losing the opportunity to “serve [one’s] country at the

highest possible level in [one’s] field”); Wilcox v. Trump, No. CV 25-334 (BAH), 2025 WL

720914 (D.D.C. Mar. 6, 2025), hearing in banc denied sub nom. Harris v. Bessent, No. 25-5037,

2025 WL 1033740 (D.C. Cir. Apr. 7, 2025) (being “deprived of the ability to carry out [one’s]

congressional mandate . . . cannot be retroactively cured by monetary damages”), appeal filed No.

25-5057 (D.C. Cir.). “[T]he loss of the ability to do what Congress specifically directed [Plaintiffs]

to do cannot be remediated with anything other than equitable relief.” Dellinger v. Bessent, 766 F.




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           As explained in Part III.C infra, the legal remedy of mandamus is available, see In re Sawyer,
124 U.S. 200, 212, 8 S. Ct. 482, 488, 31 L. Ed. 402 (1888), but the writ a “drastic” remedy to be granted
only when there are “no other adequate means to attain the relief” sought, Kerr v. U.S. Dist. Court for the
N. Dist. of Cal., 426 U.S. 394, 402–03, 96 S. Ct. 2119, 2123–24, 48 L. Ed. 2d 725 (1976). Here, the Court
finds that a writ of mandamus would be appropriate in the alternative to a permanent injunction.


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Supp. 3d 57, 70–71 (D.D.C. Feb. 12, 2025), appeal dismissed, 2025 WL 559669 (D.C. Cir. Feb.

15, 2025); see also, e.g., LeBlanc v. U.S. Privacy & Civil Liberties Oversight Bd., --- F. Supp. 3d

---, 2025 WL 1454010, at *28–32 (D.D.C. May 21, 2025) (unlawful termination of an independent

agency head “implicate[s] core separation of powers issues” and is “strikingly different

from . . . ‘routine’ employment circumstances”). And the Fourth Circuit has identified

reinstatement as an appropriate equitable remedy for wrongful discharge. See Hunter v. Town of

Mocksville, N. Carolina, 897 F.3d 538, 562 (4th Cir. 2018) (citing Duke v. Uniroyal Inc., 928 F.2d

1413, 1423 (4th Cir. 1991)).

       Finally, a permanent injunction reinstating Plaintiffs to their positions as CPSC

Commissioners is favored by the balance of relevant hardships and does not run counter to the

public interest. The CPSC plays a vital, congressionally prescribed role in “protect[ing] the public

against unreasonable risks of injury associated with consumer products[,] . . . assist[ing]

consumers in evaluating the comparative safety of consumer products[,]” and “develop[ing]

uniform safety standards for consumer products[,]” among other purposes. 15 U.S.C. § 2051(b).

Depriving this five-member Commission of three of its sitting members threatens severe

impairment of its ability to fulfill its statutory mandates and advance the public’s interest in safe

consumer products. This hardship and threat to public safety significantly outweighs any hardship

Defendants might suffer from Plaintiffs’ participation on the CPSC. The Court notes again that

Plaintiff Boyle’s term ends in October of this year, at which point the President will have an

opportunity to appoint her successor and exert significant influence over the agency. Defendants

have identified no public interest in depriving this five-member Commission of three members.




                                                 28
The Court finds it to be in the public interest to have the persons duly appointed to occupy these

key leadership positions resume their roles. 11

        Accordingly, the Court finds Plaintiffs’ requested injunctive relief appropriate and shall

grant it.

        C. Mandamus

        Even if de facto reinstatement is unavailable as a form of equitable relief, it is available

alternatively by a writ of mandamus. See In re Sawyer, 124 U.S. at 212, 8 S. Ct. at 488 (“The

jurisdiction to determine the title to a public office belongs exclusively to the courts of law, and is

exercised either by certiorari, error, or appeal, or by mandamus, prohibition, quo warranto, or

information in the nature of a writ of quo warranto, according to the circumstances of the case,

and the mode of procedure, established by the common law or by statute.”).

        A federal district court has “original jurisdiction of any action in the nature of mandamus

to compel an officer or employee of the United States or any agency thereof to perform a duty

owed to the plaintiff.” 28 U.S.C. § 1361. But “[m]andamus is a ‘drastic’ remedy that must be

reserved for ‘extraordinary situations’ involving the performance of official acts or

duties.” Cumberland Cnty. Hosp. Sys., Inc. v. Burwell, 816 F.3d 48, 52 (4th Cir. 2016) (quoting

Kerr v. U.S. Dist. Court for the N. Dist. of Cal., 426 U.S. 394, 402, 96 S. Ct. 2119, 2123, 48 L.

Ed.2d 725 (1976)).


        11
           In denying Plaintiffs’ request for preliminary injunctive relief, the Court found that the
preliminary record did not provide a clear showing that the balance of equities favored such relief. This
finding was supported by the emergency Order recently entered by the Supreme Court in Trump v. Wilcox,
145 S. Ct. 1415 (2025), where the Court determined that a stay of preliminary injunctive relief in that case
was “appropriate to avoid the disruptive effect of the repeated removal and reinstatement of officers during
the pendency of this litigation.” Disruption might have resulted in the instant case if Plaintiffs had been
reinstated while this case was in its preliminary posture, only to have the Court later deny relief in its final
judgment and subject Plaintiffs to removal again. The risk of such disruption is no longer a factor now that
the Court is granting permanent injunctive relief as a final judgment.

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               [T]o establish the conditions necessary for issuance of a writ of
               mandamus, the party seeking the writ must demonstrate that (1) he
               has a clear and indisputable right to the relief sought; (2) the
               responding party has a clear duty to do the specific act requested;
               (3) the act requested is an official act or duty; (4) there are no other
               adequate means to attain the relief he desires; and (5) the issuance
               of the writ will effect right and justice in the circumstances.

U.S. ex rel. Rahman v. Oncology Assocs., P.C., 198 F.3d 502, 511 (4th Cir. 1999) (citing Kerr, 426

U.S. at 403, 96 S. Ct. at 2124).

       The Court finds that the wrongful removal of a presidentially appointed Commissioner of

an independent federal agency presents an “extraordinary” situation involving interference with

the performance of official duties and, therefore, is suited for mandamus relief. Cumberland Cnty.

Hosp. Sys., 816 F.3d at 52. Each Plaintiff, having been duly appointed to serve as a CPSC

Commissioner and not lawfully removed from that position, “has a clear and indisputable right to”

to their office, and Defendants have a “clear” and “official” duty to provide each Plaintiff access

to the resources necessary and available for each Plaintiff to perform their official duties. Rahman,

198 F.3d at 511. If equitable relief in the form of a permanent injunction is unavailable, then there

would be “no other adequate means to attain the relief” to which each Plaintiff is entitled. Id. And,

in these circumstances, issuance of a writ of mandamus would be right and just. Id.




                                                 30
VI.    CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion for Summary Judgment is granted, and

Defendants’ Cross-Motion for Summary Judgment is denied. Plaintiffs’ Motion for a Temporary

Restraining Order and Preliminary Injunction is denied as moot. The Court shall issue a separate

declaratory judgment and permanent injunction consistent with this Memorandum Opinion.



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Date                                        Matthew
                                             atthhew J. Maddoxx
                                            United States District Judge




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